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                                                                                                                                   Zoning and Land Use

                                                                                                                                   Tax Lots

                                                                                                                                   Zoning Districts

                                                                                                                                    Commercial Districts

                                                                                                                                    Manufacturing Districts

                                                                                                                                    Residence Districts

                                                                                                                                    Parks

                                                                                                                                    Battery Park City

                                                                                                                                   Commercial Overlays

                                                                                                                                    C1-1 through C1-5

                                                                                                                                    C2-1 through C2-5



                                                                                                                                   Basemaps

                                                                                                                                   Subways

                                                                                                                                   Building Footprints




  100 ft




INDIVIDUAL LANDMARK                                                                           Add Another Tax Lot for Comparison

2360 BROADWAY, 10024
                                                                                        TAX LOT | BBL 1012347503
Manhattan (Borough 1) | Block 1234 | Lot 7503




Zoning Districts:          R10A       C4-6A         R8           C1-9   EC-2           EC-3       C1-5



INTERSECTING MAP LAYERS           :           Owner                     Show Owner
None found                                    Land Use                  Mixed Residential & Commercial Buildings
                                              Lot Area                  67,675 sq ft
ZONING DETAILS:                               Lot Frontage              201.92 ft
  Digital Tax Map                             Lot Depth                 343.25 ft
  Zoning Map: 5d (PDF)                        Year Built                1920
  Historical Zoning Maps (PDF)                Building Class            Condominiums - Mixed Residential & Commercial
                                                                        Building (Mixed Residential & Commercial) ( RM )
                                              Number of Buildings       1
                                              Number of Floors          12
                                              Gross Floor Area          559,947 sq ft
                                              Total # of Units          213
                                              Residential Units         209
                                              Condominium Number        2543
                                              Building Info                  BISWEB
                                              Property Records               View ACRIS
                                              Housing Info                View HPD's Building, Registration & Violation
                                                                        Records
                                              Community District             Manhattan Community District 7
                                              City Council District          Council District 6
                                              School District           03
                                              Police Precinct           24
                                              Fire Company            E074
                                                 Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                              Sanitation Borough      1
                                              Sanitation District       07




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